DINES AND ENGLISH, L.L.O.
ATTORNEYS AT LAW
685 VAN HOUTEN AVENUE
CLIFTON, NEW JERSEY 07013

(973) 778-7575

PATRICK C. ENGLISH FACSIMILE AARON DINES -
Email: dinesandenglish@aol,com (973) 778-7633 (1923-2002)
ALSO ADMITTED IN
THE UNITED STATES JASON M. SANTARCANGELO
DISTRICT COURTS FOR THE Email: jsdinesandenglish@verizon.net
SOUTHERN AND EASTERN DISTRICTS OF OF COUNSEL
NEw YORK, CONNECTICUT, ALSO ADMITTED IN NEW YORK

AND THE NORTHERN DISTRICT OF ILLINOIS

January 15, 2025

Re: Civil Action No.: 1-24- cv-06845 FB-TM
Honorable Fredric Block, U.S.D.J.
Honorable Taryn Merkl, U.S.M.J.

United States District Court for the New York Eastern District
225 Cadman Plaza East
Brooklyn, NY 11201

Dear Judges Block and MerkI:

Over the past few days there has been a significant development in the above matter. | write
with the consent of all counsel of record to inform you.

There has been an informal mediation. That mediation has made significant progress in

‘ resolving this matter to the extent that letters of intent memorializing a settlement in principle

~ have been executed subject to the drafting of long form agreements. The letters of intent give a

.90-day window to have long form agreements drafted and executed. The settlement in
principle involves a series of boxing events which is why the 90-day time frame was set though
the parties will attempt to consummate the long form agreements earlier.
We are therefore submitting a proposed Consent Order staying the proceedings for 90 days
with joint reports to be submitted to the Court at 30-day intervals as to the progress in
finalizing settlement.

If the Consent Order meets with your approval the parties respectfully request that it be
executed and filed.

Respectfully submitted,

sige Eni Esq.

